                     THE THIRTEENTH COURT OF APPEALS

                                    13-24-00008-CV


                                    Dae Joon Kim
                                          v.
            The University of Texas Rio Grande Valley and John H. Krouse


                                    On Appeal from the
                      476th District Court of Hidalgo County, Texas
                          Trial Court Cause No. C-4343-22-M


                                      JUDGMENT

      THE THIRTEENTH COURT OF APPEALS, having considered this cause on

appeal, concludes that the judgment of the trial court should be affirmed. The Court

orders the judgment of the trial court AFFIRMED. Costs of the appeal are adjudged

against appellant.

      We further order this decision certified below for observance.

August 22, 2024
